    Case 2:21-cv-02942-JAK-ADS Document 30 Filed 10/18/21 Page 1 of 1 Page ID #:323

                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA


                                        CIVIL MINUTES – GENERAL

    Case No.   LA CV21-02942 JAK (ADSx)                                          Date     October 18, 2021
    Title      DRR, LLC v. Ferrari North America, Inc.





    Present: The Honorable          JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                      T. Jackson                                              Lisa Gonzalez
                     Deputy Clerk                                      Court Reporter / Recorder
            Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                   Amy Rotman (video)                                   Richard Stuhlbarg (video)


    Proceedings:          PLAINTIFF’S MOTION TO REMAND COMPLAINT (DKT. 12)


The motion hearing is held via Zoom Webinar. Counsel, the Court, and court staff all appear in that
manner. Recording or re-broadcasting of the proceedings is strictly prohibited. The Court states its
tentative view that it will deny Plaintiff’s Motion to Remand (the “Motion” (Dkt. 12)). Counsel address the
Court.

The Court continues to December 3, 2021, the deadline for parties to participate in a settlement
conference with Magistrate Judge Spaeth. The post mediation status conference is set for December 20,
2021, at 11:30 a.m., with the specific time subject to change when the final calendar is issued. If a
settlement is reached, by December 15, 2021, the parties shall file a notice of settlement with a proposed
date by which the matter will be dismissed. No appearance will be required on December 20, 2021, if a
notice of settlement is timely filed. If a notice of settlement is not filed, counsel shall file a joint report by
December 15, 2021, stating the procedural status of the settlement process, including whether any
discussions are ongoing, and, if so, when they are expected to conclude. A decision on the Motion,
including the request for jurisdictional discovery, is DEFERRED pending the filing of the joint report
regarding settlement.

IT IS SO ORDERED.



                                                                                                    :      30

                                                              Initials of Preparer   TJ




                                                                                                        Page 1 of 1

